                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      MIDDLE DISTRICT OF NORTH CAROLINA
                              CAUSE NO.1:22-cv-1120

SHARON KELLY, as Administrator
Of the Estate of CAROLYN PHILBECK                                                    PLAINTIFF

v.

ACCORDIUS HEALTH AT
SALISBURY, LLC d/b/a ACCORDIUS
HEALTH AT SALISBURY;
ACCORDIUS HEALTH, LLC;
SALISBURY TWO PROPCO, LLC                                                         DEFENDANTS


                                   NOTICE OF REMOVAL


       COME NOW, Defendants, Accordius Health at Salisbury, LLC, d/b/a Accordius Health

at Salisbury; Accordius Health, LLC; and Salisbury Two Propco, LLC, by and through counsel,

and hereby give notice of removal of the above-entitled action, which is filed as Civil Action

Number 22-CVS-1937 in the General Court of Justice, Superior Court Division of Rowan County,

North Carolina, from said Court to the United States District Court for the Middle District of North

Carolina. This Notice of Removal is filed pursuant to 28 U.S.C. §1332; 28 U.S.C. §1441; and 28

U.S.C. §1446.

                                 CIVIL ACTION REMOVED

       1.       Civil Action Number 22-CVS-1937 in the General Court of Justice, Superior Court

Division for Rowan County, North Carolina, which is styled “SHARON KELLY as Administrator

of the Estate of CAROLYN PHILBECK v. ACCORDIUS HEALTH AT SALISBURY, LLC d/b/a

ACCORDIUS HEALTH AT SALISBURY; ACCORDIUS HEALTH, LLC; SALISBURY TWO

PROPCO, LLC”, is a civil action that was filed on November 18, 2022.



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        Case 1:22-cv-01120-UA-JLW Document 1 Filed 12/21/22 Page 1 of 6
                               DIVERSITY OF CITIZENSHIP

       2.      Under 28 U.S.C. §1332(a), diversity jurisdiction exists when a civil action is

between citizens of different states and the amount in controversy exceeds $75,000.00.

       3.      According to the Complaint, Plaintiff, Sharon Kelly, is the appointed Administrator

of the Estate of Carolyn Philbeck (as cited by Plaintiff in File No. 21E209, Cleveland County,

North Carolina) and is also, in her individual capacity, a citizen and resident of York County,

South Carolina. See, Complaint attached hereto as Exhibit A. However, the legal representative

of the decedent shall be deemed to be a citizen only of the same state as the decedent. 28 U.S.C. §

1332. Thus, for the purposes of this Notice of Removal, Plaintiff is a resident of North Carolina.

       4.      Defendants Accordius Health at Salisbury, LLC, d/b/a Accordius Health at

Salisbury (“Accordius Salisbury”); Accordius Health, LLC (“Accordius Health”); and Salisbury

Two Propco, LLC (“Salisbury Two Propco”) are limited liability companies. A limited liability

company is a citizen of all states in which one of its members is a citizen. See, Saxon Fibers, LLC

v. Wood, 118 Fed. Appx. 750, 753 (4th Cir. 2005) (citing Gen. Tech. Application, Inc. v. Exro

Ltda, 388 F.3d 114, 120 (4th Cir. 2004)).

       5.      Defendant Accordius Health at Salisbury, LLC, d/b/a Accordius Health at Salisbury

is a North Carolina Limited liability company. The company’s sole members are Naftali Zanziper,

a resident of New York, and Simcha Hyman, a resident of New York. Therefore, Accordius

Salisbury is a resident of New York.

       6.      Defendant Accordius Health, LLC is a New York limited liability company. Its sole

members are Naftali Zanziper, a resident of New York, and Simcha Hyman, a resident of New

York. Therefore, Accordius Health, LLC is a resident of New York.




                                                 2



        Case 1:22-cv-01120-UA-JLW Document 1 Filed 12/21/22 Page 2 of 6
       7.      Defendant Salisbury Two Propco, LLC is a North Carolina limited liability

company. Its sole members are Naftali Zanziper, a resident of New York, and Simcha Hyman, a

resident of New York. Therefore, Salisbury Two Propco, LLC is a resident of New York.

       8.      As a result of the foregoing facts, complete diversity of citizenship exists between

the parties as defined by 28 U.S.C. §(a)(1).

      FACTS AND CONTROVERSY SUPPORTING JURISDICTIONAL AMOUNT

       9.      Plaintiff’s Complaint alleges that Defendants are liable to Plaintiff under medical

negligence and wrongful death claims resulting in personal injuries that were associated with the

care provided to Ms. Carolyn Philbeck and resulting in her death while she was a resident of

Accordius Salisbury.

       10.     Plaintiff seeks compensation for alleged injuries that include compensatory

damages under claims of medical negligence and wrongful death. See Exhibit A at p.6. Plaintiff

claims as a result of Defendants’ negligence, she is entitled to recover for damages far in excess

of $25,000.00 for decedent’s personal injuries. Plaintiff also seeks compensatory damages for the

wrongful death of decedent in an amount in excess of $25,000.00 for the “expenses for care,

treatment, and hospitalization… [Ms. Philbeck’s] pain and suffering; her reasonable funeral

expenses; and her present monetary value to her children.” Id. Further, Plaintiff seeks to recover

punitive damages in an amount in excess of $25,000.00. Id. at 7. Finally, Plaintiff seeks

compensatory damages for administrative negligence in excess of $25.000.00. Id.

       11.     Plaintiff has clearly pled damages in excess of $75,000.00, and this Court has

diversity jurisdiction over this civil action pursuant to 28 U.S.C. §1332. Therefore, this action may

be removed to this Court pursuant to 28 U.S.C. §1441.




                                                 3



        Case 1:22-cv-01120-UA-JLW Document 1 Filed 12/21/22 Page 3 of 6
                                  TIMELINESS OF REMOVAL

       12.     Accordius Salisbury and Accordius Health were served with process on December

9, 2022. Upon information and belief, Salisbury Two Propco has not yet been served with Process

as of the date of this filing. Therefore, thirty days have not elapsed since the first Defendants were

served with process or became aware of federal jurisdiction exists, and this removal is timely

pursuant to 28 U.S.C. §1446(b).

                        COPIES OF STATE COURT PROCEEDINGS

       13.     Pursuant to 28 U.S.C. §1446(a), Defendants have requested and will attach hereto

a true and correct copy of all process, pleadings, and orders served upon these Defendants on file

in 22-CVS-1937 in the General Court of Justice, Superior Division for Rowan County, North

Carolina. See Certified Court Record (To Be Supplemented) and attached here to as Exhibit B.

                                  NOTICE TO STATE COURT

       14.     Defendants will immediately file with the Superior Court of Rowan County, North

Carolina, a true and correct copy of this Notice, thereby effecting removal of this action to this

Court. According to 28 U.S.C. §1446(d), no further proceedings shall be had in Rowan County.

                                    NOTICE TO PLAINTIFF

       15.     Pursuant to 28 U.S.C. §1446(a) and consistent with the Certificate of Service,

Plaintiff is being provided with a copy of this Notice of Removal.

          COMPLIANCE WITH FEDERAL RULE OF CIVIL PROCEDURE 7.1

       16.     Pursuant to Federal Rule of Civil Procedure 7.1, Defendants have filed separate

Corporate Disclosure Statements.

       Respectfully submitted this, the 21st day of December, 2022.




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        Case 1:22-cv-01120-UA-JLW Document 1 Filed 12/21/22 Page 4 of 6
                                         ACCORDIUS HEALTH AT SALISBURY,
                                         LLC, d/b/a ACCORDIUS HEALTH AT
                                         SALISBURY; ACCORDIUS HEALTH, LLC;
                                         SALISBURY TWO PROPCO, LLC, Defendants

                                         By: HAGWOOD AND TIPTON, PC

                                         By: /s/ Michael E. Phillips
                                         Michael E. Phillips (NCSB No. 45198)


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                                           5



       Case 1:22-cv-01120-UA-JLW Document 1 Filed 12/21/22 Page 5 of 6
                                 CERTIFICATE OF SERVICE

        This is to certify that the undersigned has this day served the foregoing document on all of

the parties to this cause by:

____    Hand delivering a copy hereof to the attorney for each said party addressed as follows:

__X_ Depositing a copy hereof, postage paid, in the United States Mail, addressed to the attorney
     for each said party as follows:

 X      Via electronic mail addressed to the attorney for each party as follows:

____    Depositing a copy hereof with a nationally recognized overnight courier service, for
        overnight delivery, addressed to the attorney for each said party as follows:

____    Telecopying a copy hereof to the attorney for each said party as follows:


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        This, the 21st day of December, 2022.

                                                      /s/ Michael E. Phillips
                                                      Michael E. Phillips

                                                 6



        Case 1:22-cv-01120-UA-JLW Document 1 Filed 12/21/22 Page 6 of 6
